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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNEUS\B`ES AH |l= 27

WESTERN DIVISIoN WM.?_M

      

 

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KAVIN M. CARTER, JUDGMENT IN A CIVIL CASE
Appellant,
v.
CITIFINANCIAL M()RTGAGE CO., et al., CASE NO: 2:05-2299-B
Appellee.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

lT IS SO ORDERED AND AD.IUDGED that in accordance With the ()rder Of Dismissal entered
on August 15, 2005, this cause is hereby dismissed With prejudice.

 

 

{. DA`WIEL BREEN
ED STATES DISTRICT COURT

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Date Clerk of Court

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(By) Deputy Cle

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UNITED rArs DlsrRCrT COURT - WESTRN DISTCRIT oF TNNEESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02299 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

